  Case 3:12-cr-00088-DCB-FKB   Document 407   Filed 05/27/16   Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           NORTHERN DIVISION


UNITED STATES OF AMERICA

VS.                                CRIMINAL NO. 3:12-cr-88(DCB)(FKB)
                                    CIVIL ACTION NO. 3:15-cv-85(DCB)

WILLIE EARL CULLEY                                               DEFENDANT


                                 ORDER

        This cause is before the Court on defendant Willie Earl

Culley’s Motion to Vacate under 28 U.S.C. § 2255 (docket entry

350).     On November 5, 2015, the Court ordered the Government to

respond to the motion, along with several other motions filed by

the defendant. On November 27, 2015, the Government filed a motion

(docket entry 394) for affidavit from defendant’s former counsel in

connection with the defendant’s ineffective assistance of counsel

claim. Also on November 27, 2015, by separate motion (docket entry

395), the Government requested additional time to respond to the §

2255 motion, i.e. 30 days following the Government’s receipt of the

affidavit.     The Government’s motions were granted on December 3,

2015.

        All motions filed by the defendant have been ruled upon by the

Court, with the exception of the Motion to Vacate. Apparently, the

Government never received an affidavit from defendant’s former

counsel, Terence High.      The Government is therefore requested to

inform the Court how it wishes to proceed within fourteen (14) days

from the entry of this Order.
Case 3:12-cr-00088-DCB-FKB   Document 407   Filed 05/27/16   Page 2 of 2



  SO ORDERED, this the 24th day of May, 2016.



                                     /s/ David Bramlette
                                     UNITED STATES DISTRICT JUDGE




                                 2
